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             EXHIBIT 15
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From: AAA Cheryl Florio <CherylFlorio@adr.org>
Sent: Thursday, May 15, 2025 5:41 PM
To: 'Gary Mason' <gmason@masonllp.com>; Jacob Eisenberg <jeisenberg@masonllp.com>; Theo Bell
<tbell@masonllp.com>; Danielle Perry <dperry@masonllp.com>; Mari Gribble <mgribble@masonllp.com>; McTigue Jr.,
Michael W (NYC) <Michael.McTigue@skadden.com>; McInerney, Colm P (NYC) <Colm.McInerney@skadden.com>;
Slawe, Meredith C (NYC) <Meredith.Slawe@skadden.com>; AAAFiling@valvesoftware.com
Cc: AAA Cheryl Florio <CherylFlorio@adr.org>
Subject: [Ext] Individual Claimants v. Valve Corporation - Case 01-23-0005-8758

Dear Counsel,

The AAA is in receipt of Claimants’ letter dated April 30, 2025 and Respondent’s letter dated May 1, 2025.

Regarding the 14,911 cases for which Respondent did not remit the AAA Case Management fees, the AAA will place
these cases in abeyance pending a Court’s Ruling in accordance with Claimants’ request.

The AAA will proceed with case administration of a subset of cases as referenced in Claimants’ letter upon receipt of
Claimants’ identification of the subset, and Claimants’ corresponding advanced payment of Respondent’s Case
Management Fees for the subset.

Thank you,

              AAA Cheryl Florio
              Director of ADR Operations
              American Arbitration Association
              T: 401 431 4779 F: 866 644 0234 E: CherylFlorio@adr.org
              16 Market Square 1400 16th Street, Suite 400, Denver, CO 80202
              adr.org | icdr.org | aaaicdrfoundation.org


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reply email and destroy all copies of the transmittal. Thank you.




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